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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO.
DANIEL GOLDBERG,
Plaintiff,

VS.

FLORIDA INTERNATIONAL UNIVERSITY
Board of Trustees,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, DANIEL GOLDBERG (“GOLDBERG) by and through his undersigned counsel,
files this Complaint against Defendant, FLORIDA INTERNATIONAL UNIVERSITY Board of
Trustees, (“FIU”’), and in support thereof states as follows:

I. INTRODUCTION
1. GOLDBERG brings this action against FIU to remedy intentional discrimination that he
suffered on the basis of his disability in violation of the Rehabilitation Act, 29 U.S.C. 705, et seq.
(and, specifically, 29 USC §794 commonly referred to as Section 504 of the Rehabilitation Act) and
Title II of the Americans with Disabilities Act, 42 U.S.C. § 12132.
I. JURISDICTION
2. This is an action for relief brought pursuant to Title II of the Americans with Disabilities
Act, 42 U.S.C. §1281, et. seg., and Section 504 of the Rehabilitation Act. This Court is vested

with original jurisdiction over this dispute pursuant to 28 U.S.C. §1331 and §1343.

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WW. VENUE

3. Venue lies in this Court pursuant to 28 U.S.C. §1391 and Local Rule 3.1 of the Local
Rules of the United States District Court for the Southern District of Florida, in that the
transaction or occurrence giving rise to this cause of action occurred in Miami Dade County,
Florida. Venue is proper in this District because both GOLDBERG attended school in Miami Dade
County, and FIU resides in Miami Dade County and the actions which are the subject matter of this
lawsuit occurred there.

IV. PARTIES

4. At all times material hereto, GOLDBERG was a qualified person with a disability. He
suffers from a neurocognitive injury due to a traumatic head / brain injury, which constitutes a
significant physical impairment which limits him in one or more major life activities, including but
not limited to, concentrating, comprehending, and processing information he reads.

5. FIU is a public educational institution. Part of FIU is the Herbert Wertheim College of
Medicine (“College of Medicine”) located in Miami that confers a Doctor of Medicine (known as
an “MD”’) on graduating students. It is a relatively newer medical school that was accredited by the
Liaison Committee on Medical Education (known as the “LCME”) in February 2013, immediately
prior to GOLDBERG’s matriculation, discussed below, in August 2013.

6. FIU’s Board of Trustees is vested by law with the powers and authority to effectively
govern and set policy for FIU in accordance with the laws and constitution of the State of
Florida. (See Article 1, Section 1.1 of the Board of Trustees Board Operations Policies and

Procedures).

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7. Article IX, Section 7 of the Florida Constitution establishes the composition of FIU’s
Board of Trustees. All appointed members are confirmed by the Senate of the State of Florida.

8. FIU, as a public university, accepts thousands of dollars each year from the United States
government, thereby subjecting it to the duties and responsibilities set forth in the Rehabilitation
Act, 29 U.S.C. § 705, et seq.

V. STATEMENT OF FACTS

9. From 2006 to 2010, GOLDBERG attended The George Washington University, from
which he received a Bachelor of Business Administration degree. As part of a work/study
program, Goldberg became trained as an EMT in Washington DC. He double majored in
Finance and Marketing. He also minored in Emergency Health Services.

10.GOLDBERG selected to forgo a career in finance and instead pursue a career in
emergency medicine. Because he had not taken any of the prerequisite science classes, further
undergraduate education was required. GOLDBERG received acceptances to specialized post-
baccalaureate programs from Georgetown and New York University.

11. From 2010 to 2012, GOLDBERG attended New York University. He concomitantly
worked three jobs, including full-time employment as an EMT in New York City’s FDNY 911
system. He completed his studies and took the MCAT in 2012.

12. In the summer of 2012, GOLDBERG, applied to medical schools, the College of
Medicine being one of such schools.

13. On or about October 15 2012, GOLDBERG received an e-mail and subsequent letter
from the College of Medicine that he was accepted into the Doctor of Medicine program as a

member of the Class of 2017, beginning in August 2013.

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14. The letter specified that GOLDBERG must accept or decline the offer within three
weeks, by November 5, 2012.

15. GOLDBERG decided to forego other medical school opportunities and accepted the offer
to attend the College of Medicine; he relocated from New York to Florida.

16. As mentioned, the College of Medicine became fully accredited in February 2013 (prior
to GOLDBERG’s matriculation) by the LCME to confer MD degrees on graduating students.

17. On or about June 7, 2013, GOLDBERG received a letter from the College of Medicine
that he had been offered a tuition based scholarship for $15,790 for each of the four years, for a
total of $63,880. The letter noted that the scholarship was contingent on GOLDBERG
maintaining a satisfactory passing performance in curriculum on a continuing basis.

18. In August 2013, GOLDBERG commenced his matriculation at the College of Medicine
in the Class of 2017, beginning with his Class of 2017 Period 1 courses. GOLDBERG’s Period
1 courses ran from August 2013 through March 2014.

19. On or about November 22, 2013, GOLDBERG was notified that he received another
scholarship. He received the North Dade Medical Foundation Scholarship for $15,790 for each
of the four years, for a total of $63,880.

20. Together, the two scholarships amounted to the maximum possible scholarship value that
GOLDBERG could receive.

21. GOLDBERG passed all of his Class of 2017 Period 1 courses.

22. GOLDBERG’s Class of 2017 Period 2 courses commenced in April 2014. The Period 2

Director was Dr. Yerko Berrocal.

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23. On or about May 10, 2014 (after his Class of 2017 Period 2 courses commenced),
GOLDBERG sustained a traumatic brain injury. GOLDBERG saw a woman in need of help
and, as a Good Samaritan, attempted to intervene. As he approached, he was struck on the back
of the head with a bottle. The next thing he remembered was waking up at the hospital. It is
GOLDBERG’s understanding that he was hit over the head and rendered unconscious and that
emergency personnel was called by a person that saw him unconscious.

24. GOLDBERG received staples in his head at the hospital due to the laceration from the
incident and was released from the hospital. He immediately, confidentially disclosed the
incident. to a College of Medicine administrator via e-mail on May 11, 2014. A copy of this e-
mail is attached hereto as Exhibit A.

25. As GOLDBERG progressed through his Period 2 courses, he noticed that he was having
trouble concentrating, comprehending, processing information he read, and with his memory.
This had become most noticeable during exams; GOLDBERG found himself rereading passages
and instantly forgetting what he had just read resulting in him running out of time on exams.
None of these are symptoms that he had predating the incident. Approximately one month after
the head injury, GOLDBERG’s primary care physician attributed this to depression and anxiety
related to the traumatic event.

26. Approximately June 2014, GOLDBERG was started on an anti-depressant medication.
There was no change in his condition. Approximately six months later, after no changes,
additional medication was added. This resulted in worsening of his neurologic symptoms.

GOLDBERG’s Primary Care Physician recommended evaluation by neurology specialist.

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27. GOLDBERG was evaluated by a neurology team associated with University of Miami
Miller School of Medicine, specializing in traumatic brain injuries. GOLDBERG’s neurologist,
Dr. Nedd, discontinued the anti-depressant medications and started him on an anti-seizure
medication.

28. GOLDBERG continued to pass his Period 2 courses up until the second to last Period 2
course. On or about March 9, 2015, GOLDBERG received a failing grade (which includes
taking a remediation examination) in the Period 2 course #6636 Nervous System and Behavior I
instructed by Dr. Yerko Berrocal. This course was the only course he received a failing grade in
the Period 2 courses.

29. GOLDBERG was required to attend a hearing called in front of the Medical Student
Evaluation and Promotion Committee (““MSEPC”) to discuss his academic record. At the
hearing, Dr. Rebecca Toonkel spoke in support of GOLDBERG, stating that GOLDBERG
performs on par with his classmates.

30. Prior to this MSEPC meeting, GOLDBERG met in person with HWCOM Ombudsman
(Dr. Cherry) for guidance'. GOLDBERG followed his recommendations in speaking with the
MSEPC.

31. The MSEPC required GOLDBERG to repeat ALL of the Period 2 courses including
ALL of the 2017 period 2 courses he had already passed. This meant that GOLDBERG would
have to take Period 2 courses with the Class of 2018. However, because the 2018 Period 2

course #6633 Cardiovascular and Respiratory Systems had already started, GOLDBERG would

' Notably, Goldberg was not the only student meeting with Dr. Cherry regarding issues associated with course
#6636. Also, later, Goldberg learned that Dr. Cherry was married to Dr. Runowicz, who is the executive associate
dean of academic affairs, and has the power to amend or accept the recommendations of the MSEPC.

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have to take this course one year later with the Class of 2019. GOLDBERG had already passed
this exam with the 2017 class.

32. GOLDBERG’s two academic scholarships were taken away from him in or around April,
2015 as the result of receiving a failing grade for this course #6636 Nervous System and
Behavior I.

33. GOLDBERG worked with his neurology team, the College of Medicine’s Learning
Specialist, the College of Medicine’s Counseling and Wellness Center, and the FIU Disability
Resource Center to find the appropriate testing accommodations based on the neurocognitive
disability he was dealing with from the incident. GOLDBERG would require double the amount
of time (100% extra time) to take tests. GOLDBERG?’s testing accommodation would be
implemented in step-wise manner.

34. On or about May 19, 2015, in accordance with the College of Medicine’s policies and
procedures outlined in its Medical Student Handbook, GOLDBERG sought the assistance of the
FIU Disability Resource Center (“FIU’s DRC”) to discuss his neurocognitive disability and
obtain necessary, reasonable testing accommodations, that being time-and-a-half to take exams.
FIU’s DRC supported this accommodation on or about May 22, 2015.

35. In July 2015, GOLDBERG again sought the assistance of FIU’s DRC to obtain double
the amount of time (100% extra time) to take exams due his neurocognitive disability. This
accommodation was supported on June 10, 2015 by GOLDERG’S neurologist, Dr. Nedd. See

Exhibit B.

* This was required by the College of Medicine’s Student Handbook.

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36. On July 7, 2015, FIU’s DRC approved this reasonable and necessary request directing
that the College of Medicine consider the following accommodations to GOLDBERG: 100%
extra time on exams and a minimal distraction testing room. A copy of this letter is attached as
Exhibit C.

37. The College of Medicine’s Disability Accommodations Committee (not to be confused
with FIU’s DRC) did not give GOLDBERG these necessary requested accommodations,
specifically the 100% extra time on exams. GOLDBERG was advised by Dr. Rodolfo Bonnin
and Associate Dean Adrian Jones that the College of Medicine had never given this type of
accommodation and did not want to make an exception for GOLDBERG in this instance
believing it may be challenging for GOLDBERG to get such accommodations when he
ultimately took the USMLE Step 1 exam. However, GOLDBERG’s traumatic brain injury or
absolute need for this accommodation for his College of Medicine exams were never questioned.

38. GOLDBERG proceeded to take his Class of 2018 Period 2 courses (again, inclusive of
those classed he already passed in the 2017 Class) without being provided the requested
accommodations for a single test, to the disadvantage of GOLDBERG.

39. On or about October 19, 2015, GOLDBERG received a failing grade in course #6634
Gastrointestinal System and Medical Nutrition without being provided the previously requested

and needed accommodation.’ This is a class GOLDBERG already passed with the 2017 Class

3 Goldberg passed the cumulative final examination for this course. However, immediately before the mid-term
examination, he experienced tinnitus (potentially as a side effect due to medication he was taking due to his brain
injury). He sought treatment from South Florida ENT Associates and immediately after taking the mid-term, he
went to FIU’s DRC, which approved Goldberg for a white noise machine as an accommodation for this issue (but
the College of Medicine still did not give Goldberg the 100% exira time accommodation). The College of Medicine
provided Goldberg this white noise machine accommodation, however, they did not allow him to re-take the mid-

term with the white noise machine, despite him reporting the issue and going to FIU’s DRC immediately after the
mid-term.

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and was required to take again with the 2018 Class. However, before being given a remediation
examination, the MSEPC called him for a hearing to discuss his 6634 Gastrointestinal System
and Medical Nutrition course claiming GOLDBERG’s grades were not satisfactory for continued
enrollment. Among other things, GOLDBERG explained about the tinnitus during the mid-term,
that he was not getting the accommodations he needed as approved by FIU’s DRC and reiterated
his request for 100% extra time on exams..

40. On or about May 23, 2016, GOLDBERG had to retake course #6633 Cardiovascular and
Respiratory Systems (a course he previously passed) with the Class of 2019. This course was
also instructed by Dr. Yerko Berrocal. He did not pass this class and was still not given the
accommodation of 100% extra time to take any of the exams.

41. GOLDBERG, having no success within the College of Medicine’s administration to get
his needed accommodations, directly requested assistance from FIU’s main institution. He
requested the assistance of The FIU Office of Academic Integrity and Accountability. Susan
Himberg, director of FIU Academic Integrity and Accountability, referred GOLDBERG to the
FIU ombudsman, Tony Delgado. A copy of correspondence in this regard is attached hereto as
Exhibits D and E.

42. GOLDBERG met with FIU Ombudsman Tony Delgado to discuss this urgent situation.
Mr. Delgado referred GOLDBERG to FIU Office of Equal Opportunities Programs and
Diversity.

43, GOLDBERG met with FIU’s Office of Equal Opportunities Programs and Diversity. He

was referred to the FIU Provost office.

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44. On June 30, 2016, Goldberg received another letter from his neurologist, Dr. Nedd,
regarding the accommodations that he needed, specifically 100% extra time on exams. A copy .
of this letter is attached hereto as Exhibit F.

45. On Thursday, June 30, 2016, GOLDBERG also met with FIU Vice Provost Dr. Bejar.
By the following Tuesday, GOLDBERG finally would receive his requested and needed
accommodations. Specifically, July 5, 2016, approximately one year after FIU’s DRC approved
GOLDBERG’s request for 100% extra time, Associate Dean Adrian Jones notified GOLDBERG
that the Disability Accommodations Committee approved his request for 100% extra time on
written exams. A copy of this notification is attached as Exhibit G.

46. The very next day, July 6, 2016, GOLDBERG received notifications that he was to take
the remediation exam for course #6633 Cardiovascular and Respiratory Systems on July 8, 2016
at 10am. GOLDBERG was given one day to study for the remediation exam. A copy of these
notifications are attached as Exhibit H. GOLDBERG was able to pass the remediation exam
with the accommodation. This was the first time he had received appropriate accommodations.

47. In July 2016, GOLDBERG started with the Class of 2018 Period 3 Clerkships.

48. He successfully completed his Pediatrics Clerkship.

49.In August 2016, GOLDBERG started course #7180 Obstetrics and Gynecology
instructed by Dr. Emery Salom. However, GOLDBERG was not given 100% extra time on
written quizzes, despite the accommodation finally being approved a couple months earlier by
the College of Medicine. As a result of GOLDBERG’s quiz scores, Dr. Salom withheld the

obstetrics portion of the class from GOLDBERG.

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50. All of the other students (those that did not have a disability) in the class continued with
the obstetrics portion of the class. Despite GOLDBERG not being offered this integral portion
of the class, he was still required to take this exam that covered obstetrics. Naturally, and
although he was given 100% time to take this exam, he failed this class on September 30, 2016
since the obstetrics portion of the class was withheld from him. He was then given two weeks to
take the remediation exam (that covered obstetrics), which he passed.

51. Every time that GOLDBERG was required to take a remediation exam as a result of not
passing an exam due to FIU’s failure to provide the reasonable accommodation, was
discriminatory, as taking a remediation exam required GOLDBERG to study and take a difficult,
all-encompassing medical school exam, while contemporaneously taking his normal medical
school classes. This created a situation where GOLDBERG was constantly splitting his focus
and preparation between multiple courses while the non-disabled students were able to commit
complete focus and preparation on one course.*

52. After final grades were entered, GOLDBERG reported to the College of Medicine’s
administration a setting of hostility by Dr. Salom. As a result of this report, GOLDBERG, was
then told on November 22, 2016, the night before his course #7120 Family Medicine final exam,
that instructor Salom was failing him in that class. However, the College of Medicine’s
Policies/Procedures as well as OB/GYN syllabus required final grades to be entered by a much
earlier date so that a student would be able to contest it. GOLDBERG knew that this meant he
would be again called in front of the MSEPC. Due to this dilatory and poorly timed bad news,

GOLDBERG performed poorly on the Family Medicine final exam.

* Further, by not providing GOLDBERG the requested accommodations, he was discriminatorily deprived of the
opportunity to have sufficient time to take exams and improve examination grades, even for those exams he passed,
which could have otherwise improved his academic ranking.

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53. GOLDBERG was harmed by the College of Medicine’s repeated failures to provide the
reasonable accommodations requested associated with GOLDBERG’s neurocognitive disability,
accommodations supported by his neurologist and FIU’s own DRC.

54. GOLDBERG was nevertheless called in front of the MSEPC in January 2017 where
GOLDBERG again emphasized. the issues set forth herein and that the MSEPC was not fairly or
accurately reporting these issues in its unilaterally prepared, self-serving record. The decision of
the MSEPC was to withdraw GOLDBERG based on “poor historical record” notwithstanding the
lack of accommodations or finally granting accommodations in a haphazard manner.

55. After the MSEPC meeting, GOLDBERG met with the College of Medicine’s Associate
Dean of Academic Affairs and Executive Associate Dean of Academic Affairs, again
emphasizing that he had not been receiving reasonably approved and needed accommodations
and this was not being accurately reflected in its record.

56. The College of Medicine’s Executive Associate Dean of Academic Affairs agreed with
GOLDBERG that the “facts” section used by the MSEPC was misleading. Accordingly, on
February 10, 2017 she required the MSEPC to hold another hearing. However, and for reasons
unbeknownst to GOLDBERG, the College of Medicine’s Dean Rock intervened, upholding the
decision of MSEPC to withdraw GOLDBERG based on “poor historical record.”

57. Throughout this unnerving period, GOLDBERG continued through his clerkships,
receiving what he believed has very good faculty reviews and evaluations.

58. On June 30, 2017, GOLDBERG was notified that based on the record, the Dean’s
decision was upheld resulting in an expulsion / dismissal of GOLDBERG from the College of

Medicine.

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59. All conditions to the bringing of this action have occurred, have been performed, or have
otherwise been waived.

60. GOLDBERG has retained the undersigned counsel to prosecute these claims and is
responsible for paying for reasonable attorney’s fees.

STATEMENT OF CLAIM

COUNT IE: VIOLATION OF REHABILITATION ACT (FIU)

GOLDBERG realleges and reavers paragraphs 1-60 and further alleges as follows:

61. By failing to permit GOLDBERG the benefit of a reasonable and needed accommodations
which cost FIU nothing, FIU intentionally discriminated against GOLDBERG on the basis of his
disability in violation of 29 U.S.C. § 794.

62. As a result of FIU’s intentional discriminatory acts, GOLDBERG has been damaged in that
he has suffered significant pain, anguish and humiliation. Additionally, he has been forced to incur
substantially more debt than was reasonably necessary and was ultimately dismissed from FIU.

63. GOLDBERG has been required to engage the services of the undersigned law firms and is
entitled to recover attorneys’ fees pursuant to 29 U.S.C. § 794a.

WHEREFORE, GOLDBERG demands judgment against FIU for the following:
a. Lost wages and income (including loss of future wages and income);
b. Additional tuition payments and interest on said payments (e.g., incurred debt);
c. Emotional and physical distress;
d. Pain and suffering;
e. Attorneys’ fees pursuant to 29 U.S.C. § 794a;

f. Reasonable costs; and

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g. Whatever other and further relief this Court deems just and proper.

COUNT II: VIOLATION OF AMERICANS
WITH DISABILITIES ACT TITLE I (FTU)

GOLDBERG realleges and reavers paragraphs 1 -60 and further alleges as follows:

64. As set forth above, GOLDBERG has been intentionally discriminated against by FIU due to
his disability including but not limited to, FIU’s intentional failure to permit GOLDBERG certain
accommodations or giving him accommodations in a haphazard and discriminatory manner.

65. GOLDBERG has or is not required to exhaust any administrative procedures as a condition
of bringing this action.

66. By failing to provide GOLDBERG with the reasonable accommodations that he sought,
FIU intentionally discriminated against him in violation of Title If of the ADA and GOLDBERG’s
damages are a proximate result of such discrimination. As a result of FIU’s intentional
discriminatory acts, GOLDBERG has been damaged in that he has suffered significant pain,
anguish and humiliation. Additionally, he has been forced to incur substantially more debt than was
reasonably necessary and was ultimately dismissed from FIU.

WHEREFORE, GOLDBERG demands judgment against FIU for the following:

a. Injunctive relief including reinstatement into the College of Medicine;
b. Lost wages and income (including future wages and income);
c. Additional tuition payments and interest on said payments (e¢.g., incurred debt);

d. Emotional and physical distress;

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e. Pain and suffering;

f. Reasonable attorney’s fees pursuant to 29 U.S.C. § 794a

g. Reasonable costs; and

h. Whatever other and further relief this Court deems just and proper.

TRIAL BY JURY

GOLDBERG demands trial by jury on all issues so triable by right.
Respectfully submitted,

/s/Shawn Birken

Shawn L. Birken, Esq.

Florida Bar No.: 418765

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EXHIBIT A

Will be unable to attend class (confidential please)

Daniel Goldberg

Sun 65/11/2014 11:21 PM

fo: Vivian Obeso <vobeso@fiu.edu>;

Hi Dr. Obeso,

suffered a concussion and arterial head bleed over the weekend and was discharged from the ER last night. I’m okay now,
and the doctor said the CT scan is normal, but when | was discharged | was instructed to rest for a few days andi am
concerned about driving alone tomorrow.

| was hoping you would allow me to make up tomorrow’s clinical skills quiz at a later date.

Thanks so much for your assistance with this, Dr. Obeso. | apologize for the inconvenience and look forward to hearing back
from you.

All the best,
- Danny

Daniel Goldberg

Vice President, Emergency Medicine interest Group (EMIG)
MD Candidate, Class of 2017

dgold088@fiu.edu

914-438-1747

: B . Herbert Wertheim
: «= s«Callege of Medicine

Case 1:18-cv-20813-JEM

Larisa Elberg, M.D.

Kester Nedd, D.O
General Neurology, Vascular Neurolagy General Neurology, Neurotrauma

Document 1 Entered on FLSD Docket 03/02/2018

EXHIBIT B

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Bruce Rubin, M.D
Gereral Neurology, Spasticity

Andrew Brown, M.D.

Page 17 of 26

General Neurology, Multiple Sclerosis

Stroke, Neurotrauma, Neurorehabilitation Neurorehabilitation, Vascular Neurology Management, Neurorehabifitation Electromyography, Neurorehabilitation

Accommodation for Student

PATIENT:Daniel Goldberg

DATE OF VISIT:6/10/2015

Mr. Goldberg is currently under my care after suffering a cereberal consussion on May 10,
2014. While he has made a remarkable recovery, he is left with trouble in his ability to pay
attention and stay focused. He will need accommodations with his school work. He will need
additional time to take tests (double time), to study and to complete assignments. The patient
will benefit from note takers, tutors and study groups. In addition preferred seatiing is
recommended in class. Whatever could be done to accommodate this student would be much

appreciated.

Sincerel

a

Kester Nedd, D.O.

N,

Managing Partner, Design Neuroscience Center, LLC

2801 NW 87th Avenue, Unit 7, Doral Florida, 33172 305-653-5155 (fax)305-653-5513
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ptt -JEM Document1 Entered on FLSD Docket 03/02/2018 Page 18 of 26

; FLORIDA
INTERNATIONAL
UNIVERSITY

TO: Dr. Robert Dollinger
Assistant Dean for Student Affairs
Herbert Wertheim College of Medicine

FROM: Stephen Peter Loynaz, Associate Director
Disability Resource Center

SUBJECT: Request for Accommodations

DATE: July 7th, 2015

Under the Americans with Disabilities Act (ADAAA) as amended in 2008, student Daniel
Goldberg (PID: 1793427) has been qualified and is eligible for accommodations on the basis of
disability.

The Disability Resource Center supports providing reasonable accommodations to the student on
the basis of disability. The following accommodations requested by the student are to be
considered by the College:

® 100% Extra time on exams

® Minimal Distraction Testing Room

Sincerely,

Stephen Peter Loynaz

Associate Director/Access Consultant
Disability Resource Center

Florida International University

DISABILITY RESOURCE CENTER
Division OF STUDENT AFFAIRS

Modesto Maidique Campus, GC 190, Miami, F1 33199 » Tel: 305-348-3532 e Fax: 305-348-3850 e drefinedu

Florida International Univerttry la an Equal Opp iy fA Employer and Instirution * TDD vis FRS 1-800-955-8771

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EXHIBIT D

i @ i Corrie Danny G <goidberagw@gmail.com>

question from a student

Susan Himburg <himburgs@fiu.edu>
To: Danny Goldberg <goldberggw@gmail.com>

‘Wed, Jun 22, 2016 at 11:00 AM
Dear Mr. Goldberg,

My office daes not deal directly with students. We are a resource to faculty and programs.

My recommendation is that you contact the University Ombudsman. | received this note to share with you:

If he is looking for someone to talk to about his concerns in a confidential setting, it is best that you refer him to meet with me,
Share my webpage so he understands my role as Ombuds.

http.//studentaffairs fiu.edu/student-success/ombudsman/

Susan P. Himburg, PhD

Associate Vice President

Academic Planning and Accountability
Florida International University PC 112
Miami, FL. 33199

305-348-3233 direct line
305-348-1796 staff

305-348-2322 fax

From: Danny Goldberg <goldberggw@gmail.com>
Sent: Wednesday, June 22, 2016 4:13:57 AM

To: Susan Himburg

Subject: question from a student

Hi Ms. Himburg, | hope this message finds you well,

My name is Daniel Goldberg, | am a 28 year old student here at FIU. I've recently been having a difficult time trying to navigate a delicate situation
regarding academic accountability.

Over the past few weeks, I've exhausted the resources on the APA's site, trying to educate myself as much as possible on policy and procedure in the
hopes that an easy solution would present itself. While the information provided online has been invaluable, | can't help but feel as though I am
wandering aimlessly without any sense of direction.

Ms. Himburg, I've never been the whistleblower type and | hope this can remain private and confidential. But | don't know what to do anymore and
everything seems to be spiraling out of control so 'm reaching out to you for help.

! would really appreciate the chance to meet with you for a few minutes so that f could explain my situation and hear your thoughts on the matter. | value
your expertise and judgment in these delicate matters, and I'd be incredibly grateful for any advice or guidance you can provide.

Thank you so much for your time and consideration. If you are unable to meet with me, of course it's nota problem at all. | apologize that this email
ended up being so long, and I'm sorry for any inconvenience this may have caused.

Thanks again, Ms. Himburg. | wish you well and I look forward to hearing back from you soon.

All the best,
Daniel Goldberg

Daniel Goldberg
GoldbergGW@gmail.com
(914) 438-1747
Case BAB COSTS PAB TT EO on FLSD Docket 03/02/2018 Page 20 of 26

a pity, _°8
i : Loaiall Danny G <goldberggw@ginail.com>

message from a student |

Tony Delgado <antodelg@fiu iu. edu>

Wed, Jun 22, 2016 at 4:30 PM
To: Danny G <goldberggw@gmail.com>

Daniel,

Please call my office and set up an appointment to meat with me. We can meet in person or by phone.

Thank you,

Tony Delgado, Ed.D.

Ombudsman and Assistant Dean of Students
Division of Student Affairs

11200 SW 8" Street, GC 219

Miami, FL 33199

Phone: 305.348.2797
Fax: 305.348.1957
Email: antodelg@fiu.edu

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i TOS

i BOE

Ranked second among Florida amployers,
tap ranked university in Florida

From: Danny G [mailto:goldberagw@agmail.com]
Sent: Wednesday, June 22, 2016 1:11 PM

To: Tony Delgado <antodelg@fiu.edu>
Subject: message from a student

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Ravi vita bide}
Case 1:18-cv-20813-JEM Document1 Entered on FLSD Docket 03/02/2018 Page 21 of 26

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Carnal Danny G <goldbergawigmail.cam=>

message from : a 2 student

Danny G <goldberggw@gmail. com> , Wed, Jun 22, 2016 at'1:11 PM
To: antodelg@fiu.edu

Hi Dr. Delgado, I hope all is well.

I've recently contacted Ms. Susan Himburg to request assistance with an issue | am facing and she advised me to contact your office.
I'd like the opportunity to confidentially discuss my situation with you. Any advice or guidance that you can provide would be greatly
appreciated.

Thank you for your time and consideration, I'm looking forward to hearing from you soon.

All the best,
Daniel

' Daniel Goldberg
GoldbergGW@grnail.com
(914) 438-1747

Sent from mobile device; please excuse the brevity.
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EXHIBIT F
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Larisa Elberg, MLD. Kester Nedd, D.O Bruce Rubin, M.D Andrew Brown, M.D.
General Neurology, Vascular Neurology Generali Neurology, Neurotrauma Gereral Neurology, Spasticity Genera! Neurology, Muitiple Sclerosis

Stroke, Neurotrauma, Neurorehabilitation Neurorehabilitation, Vascular Neurology Management, Neurorehabilifation Electromyography, Neurorehabilitation

PATIENT:Daniel Goldberg
DATE OF ViSIT:6/30/2016

This patient, Daniel Goldberg, is under my care following a severe traumatic brain injury on
May 10, 2014. The patient was noted to have cognitive impairment in his attention,
concentration, and speed of processing. Despite the challenges, he has been able to
matriculate at the FIU School of Medicine. He has difficulties with some of his studies, due to
his diminished ability to complete tests during the allotted time of the standarized exams. The
patient is able to comprehend, retain, and apply the knowledge, but due to his attention deficit
and reduced processing time, he benefits significantly when additional time for test taking is
provided. The patient will do best with 100% extra time on exams and additional time to
prepare. He will also need to function in a room with minimal distractions. Whatever could be
done to accomodate this patient would be appreciated.

Sincerely,

Kester J. Nedd, D.O.

Managing Partner

Design Neuroscience Center, LLC
2801 N. W. 87th Ave., Unit 7
Doral, FL 33172

305-653-5155 - tel

305-653-5513 - fax

2801 NW 87th Avenue, Unit 7, Doral Florida, 33172 305-653-5155 (fax)305-653-5513
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EXHIBIT G

Daniel Goldberg wis

From: Adrian Jones

Sent: Tuesday, July 5, 2016 11:19 AM

To: | Daniel Goldberg

Cc: Rodolfo Bonnin; Karin Esposito; Robert Hernandez; Carolyn Runowicz; Jody Lehman;
Heidi Von Harscher; Yerko Berrocal Claro

Subject: Exam Accommodations

Dear Mr. Goldberg,

The Disability Accommodations Committee for the HWCOM met last week to discuss your accommodations for exams.
After the committee met, you will be granted 100% additional time on written exams. This will also include the

accommodations for white noise and quiet space. A letter outlining all of this will be sent out when | get back in the
office this week but please use this as official notification.

if you have any questions or concerns, please let me know.
Dean Jones

Adrian Jones, J.D.

Associate Dean for Student Affairs
Herbert Wertheim College of Medicine
Florida International University
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EXHIBIT H

TE Be Herbert Wertheim
Ry at College of Medicine

FLORIDA INTERNATIONAL UNIVERSITY
REMEDIATION PLAN FOR UNSATISFACTORY PERFORMANCE

DATE OF THIS AGREEMENT: __7/6/2016 COURSE DIRECTOR: _YERKO BERROCAL, MD

STUDENT NAME: _DANIEL GOLDBERG PANTHER ID# 42 V0 Z/

COURSE NAME: _CARDIOVASCULAR AND RESPIRATORY SYSTEMS

COURSE NUMBER: _ BMS 6633

SCORE EARNED FOR THE COURSE: _U69

DESCRIPTION OF THE DEFICIENCY:
Student earned an overall course score less than -1.7 from the cohort mean

STUDY PLAN: (the steps student will take to achieve competency)

Student is advised to review their individual coaching reports to identify deficiencies and
contact teaching faculty. Review course content and reading assignments. Student is advised to
seek tutoring services.

EVALUATION PLAN:
Comprehensive NBME exam

CRITERIA FOR PASSING:
The passing score for the remediation exam is a score equivalent to 75% or higher.

FINAL PASSING GRADE FOR THE COURSE:

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STUDENT SIGNATURE: , Mil pate: “/6/16
COURSE DIRECTOR: a DATE:

PERIOD DIRECTOR: DATE:

DEADLINE FOR COMPLET,

To be routed by the Course Director within 24 HOURS after meeting with the student.
Course Director and student will sign and keep a hard copy of this form, and one signed copy is forwarded to the Office of Medical Education
(Jessica C Rodriguez). The Office of Medical Education will route this form to the Dean for Student Affairs, and the Dean for Curricuium.
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Daniel Goldberg

From: Yerko Berrocal Claro .
Sent: Wednesday, July 6, 2016 12:17 PM

To: Daniel Goldberg

Cc: Jessica C Rodriguez

Subject: Remediation form - Cardiopulm course
Importance: High

Dear Daniel,

After our meeting today, | generated your remediation plan and finalized it for to sign it. Please stop by the Period 2
coordinator office (Ms. Jessica Rodriguez) — AHC2-467 to sign it.

Feel free to contact me if you have any additional! questions.

Best regards,

YB

Yerko Berrocal, M.D.

Associate Professor, Department of Cell Biology & Pharmacology
Period 2 Curriculum Director

Director of Academic Support

Course Director, Nervous System and Behavior |

Course Director, Cardiovascular and Respiratory Systems

Herbert Wertheim College of Medicine, Florida International University
11200 S.W. 8" Street, AHC2 481, Miami, FL 33199

P: (305) 348-6287

yberroca@fiu.edu

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recipient(s) and may contain CONFIDENTIAL or PRIVILEGED information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by
reply e-mail and immediately destroy all copies of the original message and ail attachments.
Daniel Goldberg

From: College of Medicine Office of Assessment and Testing
Sent; Wednesday, July 6, 2016 12:23 PM

To: Daniel Goldberg

Ce: Jessica C Rodriguez; Yerko Berracal Claro

Subject: BMS 6633 Cardiovascular and Respiratory Systems Exam

Good afternoon Daniel,

Please be advised that you have been scheduled for BMS 6633 Cardiovascular and Respiratory Systems.
exam on Friday, July 8th at 10:60am ‘in GL 322 . This room can be quite cold, please dress accordingly.

If you are not able to attend, please advise at your earliest convenience.

Regards,

Testing & Assessment
Office of Medical Education
